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datingpsychos.com
scamboard.com
predatorswatch.com

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(All domains listed refer to sites with or without “www.” prefix.)
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AO 88B (Rev, 02/14) Subpocna te Produce Documents, Information, or Objects er to Perini Inspection of Premises in a Civil Action(Page 3}

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) Fer a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
ii} is commanded to attend a trial and would not incur substantial
expense,

(2) For Offer Discovery, A subpoena may command:

(A) production of documents, electronicaily stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at he premises to be inspected.

(d) Protecting a Person Subject ¢o a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving 2 subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also cominanded to appear for a deposition,
hearing, or trial.

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time spectfied for
compliance or #4 days afler ihe subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production of inspection.

{ii} These acts may be required only as directed in the order, and the
order must protect a person wha is neither a party nor a parly’s officer from
significant expense resulting from compliance.

@G) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45{c);

(iii) requires disclosure of privileged or other protected matter, ifne
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) IFhen Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii} disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3}(B), the court may, insiead of quashing or
modifying a subpoena, order appearance or preduction under specified
couditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(¢) Duties in Responding te a Subpoena.

(1) Producing Documents or Electronicatly Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and Jabel them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored information Not Specified.
if a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forins.

(C) Electronically Stored information Praduced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored infonnation
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is net
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C), The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld, A person withholding subpoenaed information
under a claim that if is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Jnformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. Afler being
notified, a party must promptly return, sequester, or destroy the specified
information and aay copies it has; must not use or disclose the information
until the claim is resolved; must fake reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present ihe information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g} Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court~-may held in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

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Aaron Greenspan [USER .

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Aaron Greenspan (UstR)
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“View Ticket: #880-452-73116

Therefore, please immediately remove all ***TEXT.AND
GRAPHICAL*** content on stdregistry.com. posted in violation of
the above court order concerning. Aaron Greenspan, Neil
Greenspan, Judi Greenspan. Simon Greenspan, and/or Christine

‘ ”. Richard, as all such content is untawFul

“Aaron .

| Page 1108 53 oe

: FAB, 721 PM

Case: 1:18-mc-00071-CAB Doc.#: 1-2 Filed: 07/24/18 9of 32. PagelD #: 13

View Ticket: #8BG-+352-73116 7/4/36, V:23 PM.

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._ Case: 1:18-mc-00071-CAB Doc #: 1-2 Filed: 07/24/18 10.of 32. PagelD #: 14. |

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6 rreteences - View Ticket #KAJ- 453- 62884

A Change Password

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How satisfied are eyou with the service you received from Customer Support today? ©

Logout

sy ob Gy vr
& LEVESUPPORT ‘How tikely are you to recommend Nomechesp to your friends, family or colleagues?

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’ Aaron Greenspan fuse
‘Posted on: 27 dune 2018 OF: oq Pi

. To whom it May Concern:

i hown 5 the copyright: to , the following photograph
used without my permission: ‘

ne Atta (Aven staregistry, como: -content/upioads/iMG 0046 fp. -

SAND ALL DIGITALLY IDENTICAL IMAGES WITH VARIOUS FILE ES ‘
LE NAMESFAE a

This letter is fficial notificatign under Section S12(c) of the Digital “
Millennium Copyright Act (DMCA, and seek the removal of the :
aforerentioned infringing materiaf fromm. your servers. | request !
that you immediately notify the infringer of this notice and inform i
therh of their duty to remove the infringiag material immediately,
and notify them to cease any further posting of infringing materiat

hites-f/support.nsmechoap.comfndex.phpyTickets/fickelView 6395872 ' ~ Page 2 ofS

Vio Tibet: #KAS-A53-52084

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- Aaron Greenspan

2 also be advised that law requires youd,
to remove or disable access to the infringing materials upon |
receiving this notice. ‘Under’ US law-a'service provider, such as:
yourself, enjoys immunity from a copyright tawsult provided that
e ‘speed to investigate and rectify ongoing
copyright infringement. If service providers do not investigate and
remove or disable the. Infringing, mateiial this irammunity i is lost,
erefore, In order for you to remain, immune from a copyright:
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not comply immediately. .

Pleas

and with ‘the reasonable
ed,

Under penalty of perjury i centify that the information contained in in
the notift ication js both true and accurate, and | have the authority *
to, act on behalf of the owner: of the copyrights) involved.

e please contact me.

directly. You can reach me at aaron: greenspaneplainste. org or by me

“phone at +H 415 6/0 9350.

ow is ray y digital signature in \ cofhipliance with 47 U 5 c.§ 5i2(c)

RYAN.

jsiAaron Greenspan!

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We are an ICANN accredited registrar.
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A My Profile a , . . ye
it Preferences — os . View Ticket: #PVS-360-72431

A Change Password ,

‘datingpsychos.com DMCA Violation

i Created: 42 dune 2018 04:76 AM Updated: 04 July 2018 03:57 AM

B Logout

LIVE SUPPORT ap toyour friends, family or colleagues?

© ONLINE ©

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View Ticket: #PVS-360-72431 FAfi8, 1:22 PM

Lye Chat Software by Kaysko

_ Account Ownership Verification 9 ~-) -s oct
” Account Username: thinkcomp

- Support Pin:

“.} Add Reply i

Den K, (Legal & Abuse Shift Leader} [ STAFF;
Posted on: 04 duly 2018 03:57 AM

Hello,

Since we did not receive a US Court Order in response to the
a provided DMCA Counter-Notice, the owner of the reported
we website is allowed to repost the content in question.

Should you have any questions, please tat us know.

Regards,

Denk, —

Shift Leader & Middle QA Analyst
Legal and Abuse Department
Namecheap.com

trips:jfsupport namachesp.comfindex.php?/TcketsTicketView/l 5230214 Page 26f10

Case: ba8-mc-00071-CAB Doc #: 1-2 Filed: 07/24/18 14 of 32.. PagelD.#: 18-

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4 Jurisdiction. Narmechea

ae content/uptoads/2018/02/27914, pag. your abuse report was

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‘Ksenilia T. (Legal & Abuse Shift Leader) (STAEF}
Posted an 16 June, 2018 it: 4 AM,

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p will abide e by decision ¢ of ius Court,

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aitable, we will inform, you

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~ “Further DMCA Viojations

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2PM

Best Regards,
KsenilaT.
“Shift Leader
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{2 DMCA-CASE © HEW3- §79-50220
DMCA Counter~ “Notifi eation txt
(3.47 KB) .

Aaron Greenspan ¢ COSER} ,
Posted on: £6 June 2018 09:28 AM

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*2*AND ALL DIGITALLY IDENTICAL IMAGES WITH VARIOUS FILE
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m your servers. | request

. This letter is offictal notificati
‘Millenium Copyright Act {D
aforementioned infringing ‘material ire

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Case: 1:18-mc-00071-CAB Doc #: 1-2 Filed: 07/24/18 15 of 32. PagelD #: 19

View Tickeé #PVS-360-72431

- Kripeupedape hezp.com/indéx.php7/ilckets/Tickel/View/16230214
}

that you-lmmediately notlfy the inffinger of this notice and inform
them of their duty to remove the infringing material immediately.
and notify thern to cease any further posting of infringing material
to your server in the future.

Please also be advised that law requires you, as-a service provider,
to remove or disable access to the infringing materials upon

recelving this notice. Under US taw 4 service provider, such as
- yourself, enjoys immunity froma copyright lawsuit provided that

you act with deliberate speed to investigate and rectify ongoing

_ copyright infringement. jf service providers do not investigate and

remove or-disable the infringing, materiat this Immunity is lost.

. “Therefore, in order for you to remaln immune from @ copyright
‘infringement action you will need: to investigate and ultimately

remove or otherwise disable the infringing material from your
servers with all due speed should the direct infringer, your client,

“ASL comply iramediately.

Fam providing this notice in good faith and with the reasonable
belief that rights | own are being infringed. .

Under penatty of perjury | certify that the information contained in
the notification is both true and accurate.

Should you wish to discuss this with me please contact me
directly. You can reach me at aaron. greenspan@ptainstte. org or by
phone at +1415 670 9350.

Below is my digital signature in compliance with £7 U.S.C. § 5£2(c}

‘BMAN.

fs/Aaron Greenspan/

_Aaron Greenspan

~FIAPS, 222 PM

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View Ticket: #PVS-360-72431

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Alexander Neustroev {Leqai 6 Aouse Represeniatwwel (STASE!
Posted on: £2 June 2018 G1:40 PM

- Helo,

According to our customer, the infringing content is completely

removed from the reported website(s).

- Please check from your side and get back to us in case any further

assistance is still required.

Thank you.

Regards,

Alexander Neustrocy

Legal & Abuse Department
Namecheap.com

Daria Demeshko (Lega! & Abuse SIME} (STAFF:
Posted on: 32 June 2018 09:20 AM

Hella,

Thank you for contacting Namecheap Legal & Abuse department.

This is to confirm that your abuse report was received and the
corresponding investigation h has, beeri . .

“TAAAB, 122 PM

Page 6 of 10

case: 1:18- “0007 -A-CAB Dac #: 1-2_Filed:.07/24/48-16-0f 32- PagelD#: 20.

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* Regards, °°
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_ phone at +1 415 670 9350.

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“Aaron Greenspan” :

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_ Case: 1:18-mc-00071-CAB Doc #: 1-2 Filed: 07/24/18

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Ffafa8, 1:22 PM

Page 9of 10

View Ticket: #PVS-350-72434

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744)18, 4:22 PM

Page 10 of 10

Case: 1:18-mc-00071-CAB Doc #: 1-2 Filed: 07/24/18 18 of 32. PagelD # 22

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View Ticket: #GCz-880-80973

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View Fekét: #G02-650-80973 ~ Wayne, 222 PM

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“> On Apr 26 2018, at 8:55 AM, ‘Euge ie!
erome@romeandas i

2
> Dear ‘Mr. Greenspan,

. 3 our e- mail is received, We' lt be ving it in short order. is :

> jmnageO0k. png> ae

> FRome@fomesndAssociates.cony
>. 2029 Century Park East, Suite 450%
-'» Los Angeles, CA 90067 iS
> Telephone: (310) 282- 0690

View Ticket; AG02-050-80973

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»» Facsimile; (320) 282-0691.
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of the individual or entity named oa If the receiver of this
/ “message is not the intended recipie Ate “you are hereby notified that
"any disserhination, distribution or copying of this email message Is
~ strictly prohibited z and may, vigtate tetegal rights of others. If you
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sender by reply email or telephone al (ig delete it from, your system

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ANB, 1522 PM

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FIGHT FONTKEFUTURE@?

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ds We are an ICANN accredited registrar.
= Serving customers since 2001

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Page § of 6

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Case: 1:18-mc-00071-CAB. Doc #: 1-2 Filed: 07/24/18 21 of 32. PagelD #: 25

+374 p18, 1:22 PM

View Tickets FKSS-207-38494

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“How satisfied are you with the service you received from Customer Support today? ©

eee ory ty

ee * How likely are you to recommend Namecheap to your friends, family or colleagues?
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View Ticket: #KSS-207-38494 agis, 122 PAL

Uve Ghat Software by Kaysko

" Account Ownership Verification -

* Account Username: thinkcomp

: Stipport Pin:

| Add Reply

Denk, (Lega # Abuse Shit Leader) (STAFE:
Pasted on: O1 duly 2018 03:56 AM Baia

Hello,

Since we did not receive a US Court Order in response to the
provided DMCA Counter-Notice, the owner of the reported
website js allowed to repost the cantent in question.

Should you have any questions, please jet us know.

Regards,

Ben K.

Shift Leader & Middle GA Analyst
Legal and Abuse Department
Namecheap.com

“ntipsdfsupport_namecheap.com/index.phpz/Tickets/Ticket/View/ 15223630 Page Zof 24

_ Case: 1:18-me-00071-CAB Doc#: 1-2. Filed: 07/24/18 +22 of 32.. PagelD #: 26:

" Keeniia T. (Legal & Abuse Shift Leader) (STAFE}.
Posted ory 16 June 2018 41:40 AM :

Hello,

n response to your ir DMCA copy t
ecelved a. Counter-Notice. from
ebsite A! copy. ‘of thet Counte

in light &f the competing ‘submissions
the Website, Namecheap Is’ obligated
“DMCA to aliow the re-posting of disable
hin J4-days of the date of this lett s$
“notice from YOu that you. have.a US urt. Order enforcing your
7 agreed stipulation with the owner a esteaining the owner from
‘reposting the.content, ‘Alternativel: YOU: NO longer object to th
fontent Namecheap wit allow.t to Be.re- posted. ©

Namecheap does nat serve as the arbleer of fact in this matter. We.

vggestt that! you: ontinué to, seal ‘Tes lution of-your grievances =."

. ‘directly with the registrant, Or through a Court of appropriate
PO jurisdiction. Namecheap will abide by decision of US Court.

"lease direct any further Inquiries rela d fo. the e subject domains: :*- wets

The investigation regarding recent- OCA noticed received! has.
_been started. Usually, the, process regi ires.up to-24-48 hours
“be completed. ‘Once any updates o1 ie matter: are avallable, we:
HLL infor you accordingly.

: our patience | is highly. appreciated

. Page 3 of 24

“View Tiokaty #458-207-38494 - -

“Best Regards
KsenliaT.
‘Shift beader — oe
4 . ” Legal & Abuse Department
4 : Namecheap. com ,

& DMCA- CASE #EW)- “679+ 50220
OMCA Counter- Notification bat
(47.25 KB}

Aaron Greenspan (USER:
Posted ori: 46 June 2018 09:24 AM,

= Further DMCA Viotations

The following URLs are also violating, y copyright:

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This tetter is official notification under Section 512(c) of the Digital
Millennium Copyright Act ((DMCA’), and | seek the removal of the
aforementioned infringing material from your servers. | request
that you immediately notify the infringer of this notice and inform
them of their duty to remove the infringing material immediately,
and notify them to cease any further posting of infringing material
to your server in the future.

Please also be advised that law requires you, as a service provider,
to remove or disable access to the infringing materials upon
receiving this notice. Under US law a service provider, such as
yourself, enjoys immunity fram a copyright lawsuit provided that
you act with deliberate speed to Investigate and rectify ongoing
copyright infringement. If service providers do not investigate and
remove or disable the infringing material this immunity is tost.
Therefore, in order for you to remain immune from a copyright
infringement action you will need to investigate and ultimately
remove or otherwise disable the infringing material from your
servers with all due speed should the direct infringer, your client,

not comply immediately.

i am providing this notice in good faith and with the reasonable
belief that rights f own are being infringed.

Under penalty of perjury t certify that the information contained in
the notification is both tue and accurate, and i have the authority
to act on behalf of the owner of the capyright(s) involved.

Should you wish to discuss this with me please contact me
directly. You can reach me at aaron. greenspangplainsite, org or by
phone at +1415 670 9350.

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aforementioned infringing material fram your servers. | request
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them of their duty to remove the infringing material immediately,
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Should you wish to discuss this with me please contact me
directly. You can reach me at aaron.greenspanaplainsite.org or by
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This letter is official notification under Section 512(0) of the Digital
‘Millennium Copyright Act (DMCA’), and seek the removal of the
aforementioned infringing material from your servers. | request
that you immediately notify the infringer of this notice and inform
them of their duty to remove the infringing materfat immediately,
and notify thern to cease any further posting of infringing material
to your server in the future.

Please aiso be advised that law requires you, as a service provider,
to remove or disable access to the infringing materials upon
receiving this notice. Under US law a service provider, such as
yourself, enjoys immunity from a copyright lawsuit provided that
you act with deliberate speed to investigate and rectify ongoing
copyright infringement. If service providers do nat investigate and

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remove or disable the infringing materiat this Immunity is lost.
Therefore, in order for you to remain immune from a copyright
infringement action you will need to investigate and ultimately
remove or otherwise disable the infringing material from your
servers with all due speed shouid the direct infringer. your client,
not comply immediately.

{am providing this notice in good faith and with the reasonable
belief that rights ! own are being infringed.

Under penatty of perjury t certify that the information contained in
the notification is both true and accurate, and | have the authority
to act on behalf of the owner of the copyright(s} involved.

Should you wish to discuss this with me please Contact me
directly. You can reach me at aaron.greenspanep miainsite.org or by
phone at +1 415 670 9350,

Betow is my digital signature in comptiance with 17 U.S.C. § 542{(c)
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